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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )                     4:14CR00152-3 JLH
                                             )
BILLY TAD EARNEST                            )



                                            ORDER

       On August 18, 2014, the Court entered an Order Setting Conditions of Release. That

Order is hereby amended, and the defendant is directed to comply with two additional

conditions; (1) he must submit to mental health counseling; and (2) he must surrender his

passport to the United States Probation Office.

       IT IS SO ORDERED this 26         day of August, 2014.




                                                  UNITED STATES MAGISTRATE JUDGE
